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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )            CASE NO. 8:04CR252
                                                 )
                        Plaintiff,               )
                                                 )                     ORDER
       vs.                                       )
                                                 )
JOSE ANTONIO GONZALEZ,                           )
                                                 )
                        Defendant.               )

       This matter is before the Court on the Judgment entered by the United States Court

of Appeals for the Eighth Circuit (Filing No. 141), remanding this matter for resentencing.

       IT IS ORDERED:

       1.        A resentencing hearing is scheduled before the undersigned United States

District Judge on March 13, 2006, at 2:30 p.m. in Courtroom No. 2, Roman L. Hruska U.S.

Courthouse, 111 South 18th Plaza, Omaha, Nebraska;

       2.        Counsel for the Defendant, if previously appointed pursuant to the Criminal

Justice Act, 18 U.S.C. § 3006A, et seq., is reappointed to represent the Defendant for

purposes of resentencing. If retained, counsel for the Defendant remains as counsel for

the Defendant until the conclusion of the resentencing or until given leave to withdraw;

       3.        The United States Marshal for this District is directed to return the Defendant

to this district and produce the Defendant for the resentencing hearing; and

       4.        The Clerk’s Office shall provide the United States Marshal a certified copy

of this order.

       DATED this 31st day of January, 2006.

                                                     BY THE COURT:

                                                     s/ Laurie Smith Camp
                                                     United States District Judge
